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                                                                                  Return
Case No.:                                Date and time warrant executed:                   Copy of warrant and inventory left with:
 1-~ lQ --MJ-aic:M I                       t3 J"'"I"' Zol'l                   10000...                         /J   /,'f
Inventory made in the presence of :
     .-Fo Cha.rle~ T. De.{c...vid
Inventory of the property taken and name of any person(s) seized:


               --,?k.o iv~.             ~                   -f'!.~ -I-    M-(.   s s (rs /
                                                                                   Q.              / 11 S.fun f       JVk SS ~~                       :+r ci-vr .r,
                                                                                                                                        C.<Nl ve r;.o..


              ~~d- \,t;.~                       c..-.J            c:-l.\.        ~·~ ~ ; l e . (           ,;J\~-~~                   o(
                      cl,~~ ~ . . ":,.~~             ~~CW'"\             s.




                                                                               Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

                                                                                                     1


Date:     ~    ~"'s+         'Jo I Gl
                                                                                               \   ExeciNing ojjicli· 's signature

                                                                                   ~~~.~.,..~~                                        $-pc:L,c,j~..\-
                                                                                                         Printed name and title   \
           Case 2:19-mj-02991-DUTY Document 3 Filed 08/12/19 Page 2 of 2 Page ID #:136
       Case 2:19-mj-02991-DUTY *SEALED* Document 1-1 *SEALED*                                            Filed 07/22/19 Page 1 of 9
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AO 93 (Rev . 11 / 13) Search and Seizure Warrant (USAO COCA Rev . 04/ 17)




                                            UNITED STATES DISTRICT COURT
                                                                             for the
                                                                Central District of Cal ifomia

                  1n the Matter of the Search of                                )
              (Briefly describe the properw to be searched                      )
                           or identify the person by name and address)          )      Case No.    2: 19-MJ-02991
                                                                                )
        Digital Evidence Seized on August 18, 2018, and in
                                                                                )
       the Custody of the Drug Enforcement Administration
                                                                                )
                    in Los Angeles, California
                                                   SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the           Central            District of               California
(identify the person or describe the property to be searched and give its location):

See Attachment A


        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or prope1ty
described above, and that such search will reveal (identify the person or describe the property 10 be sei=ed):

See Attachment B

Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

          YOU ARE COMMANDED to execute thi s warrant on or before                             14 days from the date of its
                                                                                                        issuance           (not to exceed 14 days)
      [8J in the daytime 6:00 a.m. to I 0:00 p.m.               D    at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom , or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
                                                                           the U.S. Magistrate Judge on duty at the time of the
as required by law and promptly return this warrant and inventory to
                                                                              return through a filing with the Clerk's Office
                                                                                                     (United States Magistrate Judge)

      D Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized {check the appropriate bo>.)
    D for          days (1101 to exceed 30) D until, the facts justifying, the later specific date of


Date and time issued:


City and state:             Los Angeles, CA
                                                                                       wx~~               U.S. Magistrate Judge
                                                                                                           Printed name and title
AUSA: Julia Choe, 213-894-6530
